       Case 18-80027-hb         Doc 37    Filed 02/21/19 Entered 02/21/19 13:47:15              Desc Main
                                          Document      Page 1 of 2


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                                             February 21, 2019

                                           MEDIATION REPORT
       In re Cornerstone Enterprises of Greenwood
       Case No. 17-03127-B, 18-80027-B

       Pursuant to SCLBR 9019-2, the Mediator in the above matter reports as follows:

       Mediation pursuant to Court Order Entered December 28, 2018

       Mediation Session held February 20, 2019 at 1:15 p.m.

       Parties attending mediation session

       Mediator: John B Butler III
        Party                                       Counsel For that Party
        John K. Fort, Trustee                       Joshua J. Hudson
        Earl Brewington                             Alecia T. Compton



       Summary of Mediation Session:
       The parties met at the offices of Alecia Compton, at 1:15 p.m. on Wednesday February 20, 2019.
       The parties met jointly, and in individual caucus, until 3:20 p.m. There were extensive
       negotiations and a settlement was reached. Counsel and the parties were well versed in the law
       and the facts, were very cooperative, and were essential to the negotiated settlement.

       Result of Mediation:
       The adversary was settled in full. Mr. Brewington has agreed to pay a sum certain in settlement
       of the Trustee’s claims in return for a full release and the right to file a proof of claim for that
       amount against the estate. No trial is necessary, unless the notice of settlement to be filed by the
       parties is not approved by the Court. The Attorney for the Plaintiff will prepare all necessary
       settlement documents including, but not limited to, any required releases, notices of settlement,
       orders and stipulations.
Case 18-80027-hb          Doc 37   Filed 02/21/19 Entered 02/21/19 13:47:15   Desc Main
                                   Document      Page 2 of 2

Respectfully submitted,

February 21, 2019

/s/ John B Butler III
John B Butler III, Mediator
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Served on the above named parties via e mail and ecf this date.
